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+                                                                                                                                                                          CHAD P. DOMAN+£
   Member, PA Bar
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   Member, NJ Bar                                                                                                                                                       JASON L. GRESHES +*-
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à Member, AZ Bar                       NEW JERSEY, Executive Quarters, 1930 E. Marlton Pike, Suite Q29, Cherry Hill, NJ 08003, (856) 429-8334
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                                                W. PENNSYLVANIA, 100 Ross Street, Suite 330, Pittsburgh, PA 15219, (412) 566-1001
                                      CALIFORNIA, 388 Market Street, Suite 1300, San Francisco, CA 94111, P (415) 947-7827, F (215) 540-8817
                                      OHIO, 4031 Colonel Glenn Highway, Suite 450, Beavercreek, OH 45431, P (937) 306-7220, F (215) 540-8817




                                                                                                                                                August 31, 2020

                    Via ECF
                    Honorable Clifton L. Corker
                    United States District Judge
                    800 Market Street
                    Suite 130 Knoxville, TN 37902

                           Re:     Thomas v. Healthcare Revenue Recovery Group, LLC
                                   3:20-cv-00358-DCLC-HBG

                    Dear Judge Corker,

                            On August 13, 2020 the Court issued a document entitled Notice of Deficiency-Pro
                    Hac Motion (D.E. 3). The Notice indicates that the undersigned is not admitted to the Court
                    and required a Pro Hac Vice Motion be filed. The undersigned was admitted to this Court
                    on April 16, 2010. For this reason, it does not appear a Pro Hac Vice Motion is necessary
                    since I am admitted to this Court. If the Court requires any additional information, please
                    let me know.


                                                                                          Respectfully,

                                                                                          /s/ Amy Lynn Bennecoff Ginsburg
                                                                                          AMY LYNN BENNECOFF GINSBURG



                    cc: Healthcare Revenue Recovery group, LLC via U.S. mail



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